                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION




 In re RealPage, Inc. Rental Software Antitrust Case No. 3:23-md-03071
 Litigation                                     MDL No. 3071

                                                  Judge Waverly D. Crenshaw, Jr.

                                                  This Document Relates to:

                                                  3:23-cv-00332
                                                  3:23-cv-00357
                                                  3:23-cv-00979




    DEFENDANT EQUITY RESIDENTIAL’S UNOPPOSED MOTION TO EXCUSE
    THE APPEARANCE OF CARL W. HITTINGER AT THE NOVEMBER 8, 2024
                       STATUS CONFERENCE

        Defendant Equity Residential (“Equity”) respectfully moves for leave to excuse its

  counsel, Carl W. Hittinger, from appearing at the November 8, 2024 conference.

        On that date, Mr. Hittinger will be on a pre-paid family vacation overseas which he is

  unable to reschedule. Should the status conference go forward, Jeffry W. Duffy, Mr. Hittinger’s

  partner at Baker & Hostetler LLP and counsel of record in this matter, is available to appear in

  person in his stead.

        Equity has conferred with Plaintiffs, who have indicated that they do not oppose this

Motion.




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                                          /s/ Carl W. Hittinger
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 31, 2024, a copy of the foregoing document was

electronically filed with the Clerk of Court using the CM/ECF system, which will automatically

send notification of such filing to all counsel of record.



                                                       /s/ Carl W. Hittinger
                                                       Carl W. Hittinger

                                                       Counsel for Defendant Equity Residential




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